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     6
         Attorneys for BRIAN JORDAN
     7
     8                         UNITED STA TES DISTRICT COURT
     9                       CENTRAL DISTRICT OF CALIFORNIA
    10
                                       WESTERN DIVISION
    11
                                                       Case No. 2:20-cv-09582 JFW (Ex)
    12 VANESSA BRYANT, a California                    [Hon. John F. Walter, Courtroom 7A]
       Resident,
                         Plaintiff,
                                                         )MOTION
                                                      8BERDER     FOR PROTECTIVE
                                                              (ENTIRE DOCUMENT TO
                                                          FILED UNDER SEAL)
               V.
                                                      (2) MEMORANDUM OF POINTS
                                                      AND AUTHORITIES IN SUPPORT
                                                      THEREOF;
                                                      (3) DECLARATION OF CAPTAIN
    17                                                JORDAN AND STEVEN H. HANEY
                         Defendants.                  IN SUPORT THEREOF; and
    18 -
                                                      (4) !PROPOSED] ORDER separately
    19                                                lodged concurrently herewith
    20
                                                      District Judge: Hon. John F. Walter
    21                                                Courtroom: 7 A
    22                                                Magistrate Judge: Hon. Charles F. Eick
                                                      Courtroom: 750
    23
    24
         TO THIS THE PARTIES AND THEIR COUNSEL OF RECORD:
    25
               PLEASE TAKE NOTICE that third party witness BRIAN JORDAN ("Jordan")
    26
         a retired Captain, previously with the Los Angeles Fire Department, will and hereby
    27
         does move the Court A Motion For Protective Order in Courtroom 750, 7th Floor, of
    28
                                                  )        Case No. 2·20-cv-09582-JFW-Ex
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      1 the above-captioned Court, located at 255 E. Temple St., Los Angeles, California
     2 90012.
     3         Good cause exists for the granting of this motion for a protective order on the
     4 grounds that Captain Jordan will suffer emotional harm if he is forced to testify
     5 regarding his observations and role as safety officer at the scene of the helicopter crash
     6 which has rendered him disabled and required his retirement.
     7         This Motion is based on upon this Notice of Motion, Memorandum of Points
     8 and Authorities, Declaration of Brian Jordan and Steven H. Haney, and exhibits
     9 thereto.
    10         In accordance with Local Rule In accordance with Local Rule 37-1, counsel for
    11 Plaintiff and Mr. Jordan met and conferred regarding this dispute by videoconference
    12 on October 12, 2021 but were unable to reach agreement regarding the subject matter
    13 of this Motion.


    15
         Dated: October 19, 2021                      HANEY LAW GROUP
    16
    17
    18                                                By: & - ~ ~
    19                                                Steven H. Haney, Esq.
                                                      Kenneth W. Baisch, E
    20                                                Attorneys for BRIAN JORDAN
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      1                MEMORANDUM OF POINTS AND AUTHORITES
     2         I.    INTRODUCTION
     3         This case arises out of the January 26, 2021, helicopter crash in the foothills of
     4 the Santa Monica Mountains, which tragically killed a number of people including
     5 former NBA superstar Kobe Bryant and his daughter. While certain members of the
     6 Los Angeles County Sherriffs Department and Los Angeles County Fire Department
     7 took photographs of the accident scene, none of those scenes were publicised on
     8 television or on the inte1net, Plaintiff Bryant nevertheless filed a lawsuit for, among
     9 other things, invasion of privacy.
    10         II.   FACTUAL SUMMARY
    l1         At the time of the crash, Captain Jordan was a captain with the Los Angeles
    12 County Fire department and its safety officer. The gruesome nature of the crash site,
    13 much like a battleground, left Captain Jordan emotionally damaged, requiring him to
    14 go on disability leave and ultimately retire from the fire department entirely. Any
    15 attempts to remember what occurred that day causes Captain Jordan further trauma,
    16 such that his health care professionals have opined that he should not be questioned or
    17 deposed at this time regarding the event.
    18         Captain Jordan is not a party to this lawsuit. In her most recent attempt to
    19 obtain discovery, Bryant had her counsel issue a deposition subpoena served upon
    20 third-party witness Brian Jordan seeking his testimony as well as his personal cell
    21 phone records. Ca tain Jordan has objected to the sub oena on the grounds that his
    22 personal cell hone records contain rivate information that is rotected by his right of
    23 [Privacy. Now, Ca tain Jordan has been ordered by his doctors to refrain fro
    24 discussing this tragic event due to the toll it has taken on his sychological health.
    25 These same professionals were a catalyst for Ca tain Jordan's early retirement, based
    26 on their recommendations and conclusions ertaining to his disability. This is the firs~
    27 time Ca tain Jordan has chosen to reveal this highly confidential information.
    28
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                Dr. David Appleton, a provider hired by the County to assess Captain Jordan,
     2 has written numerous times that the Captain is not permitted to return to work with the
     3 Fire Department (Jordan Deel, Exhibit 2). In yet another letter dated October 12, 2021
     4
     5          Dr. Appleton writes, "Mr. Brian Jordan has been under my care since
                June 24, 2020 for an incident that took place at work on January 26,
     6
                2020 ... Since then, Mr. Jordan has received a total of 42 individual
     7          sessions of Trauma related Cognitive Behavioral Psychothera y for Post-
                Traumatic Stress Disorder."
     8
     9
                Dr. Appleton goes on to write, in the same letter, that Captain Jordan ' s
    10
         attendance at a deposition associated with the helicopter accident of January 26, 2020,
    11
         "Would further traumatize Mr. Jordan at this point." However, Dr. Awleton
    12
         suggested that Ca tain Jordan could have six additional sessions with him to better
    13
         determine the state of Captain Jordan's mental health and his ability to undergo
    14
         deposition after these six sessions.
                As though this was not enough, for the purposes of a second opinion Dr. Emil
    16
         Soorani, a psychiatrist who evaluated Fire Captain Brian Jordan on January 7, 2020,
    17
         wrote about his findings in a letter dated January 11, 2021 (Jordan Deel). Dr. Soorani
    18
         stated that;
    19
    20          "After an extensive and thorough interview and examination, I have
                determined that Captain Jordan suffers from post-traumatic stress
    21
                disorder as a result of his job related psychological and emotional distress
    22          suffered when he viewed the horrific remains of a helicopter crash whic
    23          involved, among others, Kobe Bryant and his daughter (also known as the
                "Willows incident" ."
    24
    25          Dr. Soorani was abundantly clear when he said,
    26       "After meeting with Captain Jordan, I have determined it would be
    27       seriously detrimental to his health to participate in any type of discussion
             involving the Willows incident and anything pertaining to the Willows
    28       incident and the aftennath that follows." This letter includes Dr.
                                                  4         Case No 2·20-cv-09582-JFW-Ex
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                     1          Soorani' s recommendations for Captain Jordan to refrain from speaking
                                of the horrific helico ter crash from January 26, 2020. Dr. Soorani notes>
                     2
                     3
                               "It is mv strona ommon that the alreadv oresent osvcholoaical and
                     4         emotional distress. the deoression (includin2: sleeolessness. flashbacks.
                               and other ohvsical manifestations of his emotional distress). would be
                     5         severely exacerbated by any discussion..related to the Willows incident."
                     6
                               These findings do not leave any room for alternate interpretations, they are clear
                     7
                         and concise. Ca tain Jordan should not even so much as discuss this incident, bu
                     8
                         Plaintiff insists she has a right to de ose him for an indeterminable J?eriod of time.
                     9
                         The everlasting effects this deposition would have on Captain Jordan has been clearly
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                         outlined by these ex erts.
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                               Moreover, due to these findings, Captain Jordan respectfully requests the
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~ti~ (\j re              granting of this Motion for a Protective Order regarding his upcoming deposition.
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~    1/)   J-~                 III.   PROCEDURAL HISTORY
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Li.I~ t:l z ~                  On October 4, 2021 , Plaintiffs counsel served by email a deposition subpoena
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     >(l)IIJIL      16
                         requesting a variety of documents along with the appearance of Captain Jordan at a
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     II) .J
     II)                 deposition scheduled for October 25, 2021. Mr. Haney, counsel for Captain Jordan
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     -
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                    18
                         explained to Plaintiffs counsel the fact that Captain Jordan's health prevents his
                         testimony regarding the tragedy. Nonetheless, Plaintiff is unwilling to forego
                    19
                         deposing Captain Jordan at this time. As a result, third-party witness Captain Jordan
                    20
                         hereby respectfully asks this Court to grant a protective order with regard to: (1) the
                    21
                         taking of his deposition; and (2) the issuance of any further discovery.
                    22
                               Ca tain Jordan seeks this request on the grounds that he is under the care of
                    23
                         health care rofessionals, including the County' s doctor, who have determined that his
                    24
                         psychological state is such that he should not be uestioned regarding the incident at
                    25
                         this time.
                    26
                                IV.   LEGAL ARGUMENT
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                                                                    5         Case No 2:20-cv-09582-JFW-Ex
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                   1         A.   This court has the discretion to determine the scope of discovery and
                             accordingly issue a protective order
                   2
                   3         District courts have broad discretion to determine the scope of discovery.
                   4 (Hallett v. Morgan, 296 F.3d 732, 750 (9th Cir. 2002)). More specifically, the
                   5 decision to issue a protective order rests within the discretion of the trial court. The
                   6 Court in which the action is pending has the authority to "issue an order to protect a
                   7 party or person from annoyance, embarrassment, oppression, or undue burden or
                   8 expense." Fed.R.Civ.P. 26(c)(l). The presiding court is in this best position to
                   9 determine the underlying discovery dispute. (Pure Fishing, Inc. v. Redwing Tackle
                  10 Ltd., 2012 WL 1133384 (2012)). While information sought during pre-trial discovery
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     It)
     m            11 is presumptively open to the public, a party seeking a protective order may override
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Cl.~Ol~U'l        12 this presumption by demonstrating "good cause." (Phillips ex rel. Estates ofByrd v.
::, <~oo~
~~~NN             13 General Motors Corp., 307 F.3d 1206, 1210 (2002)).
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                             B.    Good cause exists due to the harmful impact this deposition would
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~ ~ iii ~ ~       15         have on Captain Jordan's health
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   It) ..J                   To show good cause for a protective order restricting pre-trial discovery, the
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                       moving party bears the burden of showing that specific prejudice or harm will result if
                  18
                       no protective order is granted. (Fed. Rules Civ. Proc. Rule 26(c)(l)). To do so, "the
                  19
                       moving party must make a clear showing of a particular and specific need for the
                  20
                       order.") (General Motors Corp., 307 F. 3d 1210 (2002)). Where protective order
                  21
                       disputes involve conflicting interests, the Court balances the needs of the party seeking
                  22
                       disclosures against the risk of injury that may result if the requested discovery is
                  23
                       permitted. (See Brown Bag Software v. Symantec Corp., 960 F.2d 1465, 1469- 70 (9th
                  24
                       Cir. 2002); Bite Tech, Inc. v. X2 Impact, Inc., 2013 WL 195598 (9th Cir. 2013)).
                  25
                             In the instant case, CaQtain Jordan can su ass a mere showing of good cause.
                  26
                       Ca tain Jordan has been ordered by his doctors on more than one occasion to "not
                  27
                       work at all." Further, he has been deemed permanently disabled from this incident. As
                  28
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                        I referenced above, Dr. David A      leton and Dr. Soorani alike have written about the
                        2 colossal harm that will reek havoc on Ca tain Jordan' s syche if he has to endure
                        3 discussing the incident from January 26, 2021. As addressed by Dr. A         leton,
                        4 Ca tain Jordan has received a total of 42 individual sessions of Cognitive Behaviorall
                        5 Psychotheragy for Post-Traumatic Stress Disorder. To reiterate, forty-two sessions ofi
                        6 reliving what resembled a warzone replete with dead bodies, body_])arts, and blood.
                        7    o put things into ros ective, an event so traumatic that it caused a Safety Officer, a
                        8 iman that is no stranger to tragedy, to end his career. Put_plainly, forty-two individual
                        9 sessions, seems good cause enough for Plaintiff to believe Ca tain Jordan has no~
                       10 fabricated this disability. One would assume that artaking in forty-two sessions of
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                       11   sychoanalysis would contribute to a good cause showing that Ca tain Jordan has
     1-0o_
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o.,~Ol~II')            12 suffered vastly due to this incident. Ca tain Jordan has lost his job, endured mental
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ffi ~ O~C'J            13 agony, retained counsel, and has been vilified by the Department he honorably served.
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3:   II)    :J - ~
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    ... u--            14 However, through the meet and confer process Plaintiffs counsel has vehemently
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~ ~ iil ~ ~            15 demonstrated their lack of em athy regarding Ca tain Jordan's circumstances. To add
J:I-C>D.CI)
   Cl) Z Ill U
     111<.J<           16 insult to injury Ca tain Jordan still suffers from slee lessness, depression, and ost
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     II')   .J
     II')
                       17 traumatic stress disorder. Irrew ective of Plaintiffs contentions Captain Jordan
     -
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                       18 maintains that the ham1 he will suffer is far greater and frankly irre arable with
                       19 regards to his well being.
                       20        Ultimately, a protective order should be granted when the moving party
                       21 establishes "good cause" for the order and justice requires "an order to protect a party
                       22 or person from annoyance, embarrassment, oppression, or undue burden or expense."
                       23 Fed. R. Civ. P. 26(c)(l). The authority of the Court under Rule 26(c) includes the
                       24 ability to enter an order "forbidding the disclosure or discovery" altogether. (Fed. R.
                       25 Civ. P. 26(c)(l)(A)); seeHavasupai Tribev. Robertson, 943 F.2d 32, 34 (1991).
                       26        1t is_2ainfully clear that the resent case necessitates a 2rotective order for
                       27      tain Jordan' s well-being and because justice so re uires, for the purpose of
                       28 protecting him from annoyance, embarrassment, o i_Qression, and undue burden.
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                      1 Hasn' t the Ca tain ex erienced enough? Captain Jordan has been ricked and oked
                      2 by the Plaintiff, the CountY. and now he turns to the court to release him from this
                      3 reoccurring nightmare. Ca tain Jordan has been served multi_ple sub oenas, al
                      4 deposition subpoena, re uests for documents, and so forth. Constantly reminding him
                      5 of the event he so needs to forget, an event his doctors have stated has caused
                      6    ermanent disability and post traumatic stress. It is unclear how much more roof
                      7 Plaintiff desires to reassure her of Ca tain Jordan's condition. In any case, Captain
                      8 Jordan is merely a third party witness and should not have to com ly with every one
                      9 of Plaintiffs unwavering demands.
                     10
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   Ill                          C.    The Court may limit discovery to ensure Captain Jordan does not
   - ,....
   Ol
                     1I
                                have to attend the deposition scheduled for October 25, 2021
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O~~N~                           Additionally, the Federal Rules, by their plain terms, allow the court to limit
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S:Ul     ::i-~            discovery so as to avoid cumulation, duplication, harassment, expense and
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IJJ Ill Ill Z ~         burdensomeness. (See Fed.R.Civ.P. 26(b )(1 )). The discretion to limit discovery
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                          extends to imposing restrictions where the discovery sought "is obtainable from some
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   Ill                    other source that is more convenient, less burdensome, or less expensive." (Fed. R.
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                          Civ. P. 26(b)(1 )). The Court may also limit the use of discovery methods otherwise
                     18
                          permitted under the Federal Rules if the Court determines that the discovery sought is
                     19
                          obtainable from some other source that is more convenient, less burdensome, or less
                     20
                          expensive. (See Fed.R.Civ.P. 26(b)(2) (C)(i)).
                     21
                                Plaintiff in their own moving papers have admitted that other County employee
                     22
                          have consented to provide access to documents relating to the incident in question.
                     23
                          Further, Plaintiffs counsel is already embarking on countless depositions in this
                     24
                          matter in a scorched earth fashion. Not to mention the innumerable subpoenas
                     25
                          Plaintiff has issued, along with amended subpoenas to supplement their requests,
                     26
                          Plaintiff has gone above and beyond to utilize every discovery tool readily available to
                     27
                          them. Therefore, it would cause Plaintiff no harm to obtain information from some
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         other source that is more convenient, less burdensome, or less expensive. Also, it is
      2 quite evident through Plaintiffs two hundred page Declaration that they are not at a
      3 disadvantage for lack of information. In addition, the discovery cut off for this matter
     4 is November 29, 2021.
     5           hus, good cause exists for the granting of this motion for a rotective order on,
     6 the grounds that Ca tain Jordan will suffer emotional harm if he is forced to testify
     7 regarding his observations and role as safety officer at the scene of the helico ter eras
     8 which has rendered him disabled and re{}!lired his retirement.
     9         Accordingly, in addition to requesting a protective order precluding discovery,
    10 Defendants also respectfully ask this Comi to exercise its authority to stay all
    11 discovery as to Captain Jordan in the interests of judicial economy and avoiding a
    12 needless expenditure of resources by both parties. (See e.g., Sinclair Ref Co. v.
    13 Jenkins Petroleum Process Co., 289 U.S. 689, 693-94 (1933)).
    14   V.    CONCLUSION
               For the reasons set forth above, third-party witness Captain Brian Jordan
    16 respectfully requests that this Court grant this protective order with regard to: (1) the
    17 taking of his deposition; and (2) the issuance of any further discovery to Captain
    18 Jordan.
    19
    20 Dated: October 19, 2021                         HANEY LAW GROUP
    21
    22
                                                       By:< - ~ ~
    23                                                      Steven H. Haney, Esq.
    24                                                     Kenneth W. Baisch, Esq.
                                                           Attorneys for BRIAN JORDAN
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           1                                   Declaration of Brian Jordan
           2
                     I, Captain Brian Jordan, declare as follows:
           3
           4
                            I am over 18 years of age and a retired Captain from the Los Angeles

           5 County Fire Department.
           6
                     3.     At the time of tragic Kobe Bryant helicopter crash I was the Chief Safety
           7
           8 Officer for the Los Angeles Fire County Department. While I understand that a
           9 subpoena has issued requesting my presence at a deposition scheduled for October 25,
          10
g              2021, I respectfully request the court grant this Application such that I may pursue a
~"        11
          12 protective order. As the basis for the protective order is my psychological health, the

          13 documentation for this motion contains highly private privileged information further
          14
               explaining my current circumstances.

                     2.     I was treated by Dr. Appleton and Dr. Soorani, whom provided

         17 recommendations and evaluations based on my mental health, Attached hereto as
         18
            Exhibit " l" and Exhibit "2" are true and correct copies of their medical findings. Dr.
         19
         20 Appleton suggested that I have six additional sessions with him to better dete1mine th

         21 state of my mental health and my ability to undergo a deposition after these six
         22
               sessions.
         23
         24 Ill
         25 Ill
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               Ill
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                                    I declare under the laws of the United States of America that the foregoing is
                          2
                              true and correct, and that this declaration was issued on this 19th day of October 2021
                          3
                              at Los Angeles, CA.
                          4
                          5                                                 Isl Brian Jordan
                          6                                                 Captain Brian Jordan, Declarant

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      1                              Declaration of Steven H. Haney
      2
                 I, Steven H. Haney, declare as follows:
      3
                 1.    I am an AV preeminent rated attorney that has been practicing for 35
      4

      5 years and am licensed to practice before all courts in the State of California, and
      6
          including before the United States District Court for the Central District of California.
      7
      8 I am counsel for third party witness Brian Jordan. In the regard I have personal

      9 knowledge of the following facts and if called as a witness could and would testify
     10
          competently thereto under oath.
     11
                2.     Good cause exists for the granting of this motion for a protective order on

    13 the grounds that Captain Jordan will suffer emotional harm if he is forced to testify
     14
          regarding his observations and role as safety officer at the scene of the helicopter eras
    15
    16 which has rendered him disabled and required his retirement.
    17          3.     The incidents that took place on January 26, 2021 and the aftermath of
    18
          this tragic event had a great impact on Captain Jordan's life. This incident was
    19
    20 ultimately the catalyst for Captain Jordan's early retirement. Jordan's doctors

    21    subsequently have diagnosed him and their analysis is a pivotal feature of the Motion
    22
          for a Protective order that Captain Jordan.
    23
    24          4.     On October 6, 2021, a letter was sent to Plaintiff indicating Captain

    25 Jordan's need for a Protective Order and to File Documents Under Seal,
    26
          Attached hereto as Exhibit "3" is a true and correct letter dated October 6, 2021.    7.
    27
    28          5.     On October 8, 2021 an email was sent to Brandon Martinez and Jennifer
                                                        I      Case No 2·20-cv-09582-JFW-Ex
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                       1 Bryant scheduling a meet and confer for Tuesday, October 12, 2021. Attached hereto
                       2
                           as Exhibit "4" is a true and correct copy of the email sent on October 8, 2021.
                       3
                                 6.     On October 12, 2021 at 3:00 pm I met and conferred with Jennifer
                       4
                       5 Bryant, who is one of the counsel for Plaintiff in this matter. During our meet and
                       6
                           confer we were unable to come to an agreement as to filing documents under seal or t
                       7
                       8 stipulate to a Protective Order that would preclude Captain Brian Jordan's deposition
                       9 from moving forward on October 25, 2021.
                      10
     0
     II)
                                 7.     When I speak to Captain Jordan on an attorney client basis, I have been
     -~ "0
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     -00 0

:) ~- Ol~cx,4>
Q.

Oti~N~
              *
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             II)
                      12 advised by his wife not to mention the helicopter crash or anything relating to that

ffi~o~N               13 crash as it causes Captain Jordan to suffer psychological trauma and physical
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>-ZuiW•·                   manifestations of that trauma. In my opinion, forcing him to undergo a deposition at
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                      16 this time would be harmful and even deadly to my client.
            LIJ
     LIJ <( ..J <
     s: 0(/) I-
            LIJ LL.
     Ill .J
     Ill
                      17         I declare under penalty of perjury under the laws of The United States of
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                      18
                           America that the foregoing is true and correct, and that this declaration was executed
                      19
                      20 on this _!__j_ day October 2021 in Los Angeles, CA.
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                                                        2      Case No 2·20-cv-09582-JFW-Ex
                            MOTION FOR A PROTECTIVE ORDER - ENTIRE DOCUMENT TO BE FILED
                                                    UNDER SEAL
       Case 2:20-cv-09582-JFW-E Document 117 Filed 10/19/21 Page 14 of 16 Page ID #:4966




              1
                                                PROOF OF SERVICE
              2
                      I am employed in the County of Los Angeles, State of California. I am over the
              3 age of 18 and not a party to the within action. My business address is: 1055 West
                Seventh Street, Suite 1950, Los Angeles, California 90017. On October 19, 2021, I
              4
                caused to be served the foregoing document described as MOTION FOR A
              5 PROTECTIVE ORDER in this action by placing a true copy thereof enclosed in an
                envelope addressed as follows:
              6
              7 SEE ATTACHED SERVICE LIST
              8
                            BY MAIL AS FOLLOWS: The envelope was mailed with postage thereon
                   9 fully prepaid. I am "readily familiar" with the firm ' s practice of collection and
                  10 processing correspondence for mailing. Under that practice it would be deposited witr.
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                     the U.S. postal service on that same day with postage thereon fully prepaid at Los
    _,...,
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                  11 Angeles, California, in the ordinary course of business. I am aware that on motion of
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0. ~ Ol ~ lfl     12 the party served, service is presumed invalid if the postal cancellation date or postage
:J -~c:o~            meter date is more than one day after service of deposit for mailing in affidavit.
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ffi I-IL(")-                BY ELECTRONIC TRANSMISSION - I caused such document(s) to be
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       u~~        14 delivered in PDF format when the attached document(s) was e-filed with the Clerk of
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 If)     ..J                Executed on October 19, 2021, in Los Angeles, CA 90017
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             18 [gJ    (Federal) I declare that I am employed in the office of a member of the bar of
             19 this court at whose direction the service was made.
             20
                    Lauren Moorehead                              s/Lauren Moorehead
             21       Type or Print Name                              Signature
             22
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                                                            3         Case No 2·20-cv-09582-.TFW-Ex
                  MOTION FOR A PROTECTIVE ORDER - ENTIRE DOCUMENT TO BE FILED
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      2
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    27 El Segundo, California 90245                  Christopher L. Chester)
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                                                 4         Case No 2·20-cv-09582-JFW-Ex
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                 Case 2:20-cv-09582-JFW-E Document 117 Filed 10/19/21 Page 16 of 16 Page ID #:4968




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                                                          5      Case No 2·20-cv-09582-JFW-Ex
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